                      Case 3:19-cv-03371-EMC Document 156 Filed 03/29/22 Page 1 of 2
AO 120 (Rev. 08/10)


                             Mail Stop 8                                                   REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                               TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                                     on the following
         Trademarks or         Patents.   (    the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                     DATE FILED                       U.S. DISTRICT COURT
 3:19-cv-03371-EMC
PLAINTIFF                                                               DEFENDANT




        PATENT OR                    DATE OF PATENT
                                                                                   HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                  OR TRADEMARK
1

2

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4

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In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                  INCLUDED BY
                                                   Amendment                   Answer            Cross Bill           Other Pleading
        PATENT OR                    DATE OF PATENT
                                                                                   HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                  OR TRADEMARK
1

2

3

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In the above—entitled case, the following decision has been rendered or judgment issued:
DECISION/JUDGMENT
      See attached.




CLERK                                                    (BY) DEPUTY CLERK                                          DATE
                                                                                                                      March 29, 2022
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ATTACHMENT A TO
REPORT ON THE FILING OR DETERMINATION
OF AN ACTION REGARDING A PATENT OR TRADEMARK

PATENT NO.      DATE OF PATENT      HOLDER OF PATENT
6,157,721       12/5/2000           INTERTRUST TECHNOLOGIES CORP.
6,640,304       10/28/2003          INTERTRUST TECHNOLOGIES CORPORATION
6,785,815       8/31/2004           INTERTRUST TECHNOLOGIES CORP.
7,340,602       3/4/2008            INTERTRUST TECHNOLOGIES CORP.
7,406,603       7/29/2008           INTERTRUST TECHNOLOGIES CORP.
7,694,342       4/6/2010            INTERTRUST TECHNOLOGIES CORP.
8,191,157       5/29/2012           INTERTRUST TECHNOLOGIES CORPORATION
8,191,158       5/29/2012           INTERTRUST TECHNOLOGIES CORPORATION
8,526,610       9/3/2013            INTERTRUST TECHNOLOGIES CORPORATION
8,931,106       1/6/2015            INTERTRUST TECHNOLOGIES CORPORATION
9,569,627       2/14/2017           INTERTRUST TECHNOLOGIES CORPORATION
